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     Sacramento, CA 95818
 4

 5                  UNITED STATES DISTRICT COURT FOR THE
 6                      EASTERN DISTRICT OF CALIFORNIA
 7

 8   United States of America,          ) Case No.: Cr. S. 04-305 DFL
                                        )
 9              Plaintiff,              )
                                        ) Date: January 29, 2008
10        vs.                           ) Time: 10:00 a.m.
                                        ) Court: Hon. D. Lowell Jensen
11   Martin Isias, et. al.,             )
                                        ) Stipulation & Order to Continue
12              Defendant.              ) Judgment & Sentencing
                                        )
13

14        Defendant Martin Isias is scheduled to be sentenced on
15   November 20, 2007.    The government filed a memorandum on
16   November 14, 2007 which raises many disputed points.          It is the
17   defendant’s intention, through undersigned counsel, to attempt
18   to meet with the government prior to sentencing to see if
19   certain issues may be resolved by the parties, prior to
20   presentation to the Court.     Mr. Isias requests that his judgment
21   and sentencing be continued to January 29, 2008, if that date is
22   available with the Court.     The government is not opposed to this
23   request.
24

25   Dated: November 16, 2007          Respectfully submitted,
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27                                   __/s/ Shari Rusk_____________
                                     Shari Rusk
28                                   Attorney for Defendant
                                     Martin Isias


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 2
                                           /s/ Phil Ferrari_______
 3   Dated: November 16, 2007                 Phil Ferrari
                                          Assistant United States Attorney
 4

 5                                        _
 6                               ORDER
 7
          It is so ordered.       The judgment and sentencing in this
 8
     matter will be rescheduled for January 29, 2008.
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10
     Dated:     November 21, 2007         ________________________
11                                        Hon. Judge D. Lowell Jensen
                                          United States District Court Judge
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